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                       IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA

JOSEPH MICHAEL ARPAIO
                  Plaintiff,
v.
                                                           Case No.: 1:19-cv-03366-APM
KEVIN ROBILLARD et al

                   Defendants.




                               NOTICE OF NEW CASE AUTHORITY

       Plaintiff Joseph Arpaio (“Plaintiff”) hereby informs the Court of the U.S. District Court for

the Southern District of Virginia’s order of March 31, 2020 in the matter of Blankenship v.

Napolitano at al, 2:19-cv-00236, which held that the Plaintiff had stated a viable claim for

defamation where he was falsely referred to as a “felon,” when in fact he was only convicted of a

misdemeanor. These facts align squarely with the facts at issue here. An article from the

Hollywood Reporter, along with the Honorable John T. Copenhaver, Jr.’s opinion is attached

hereto as Exhibit 1.

DATED: April 2, 2020                                 Respectfully submitted,


                                                     /s/ Larry Klayman
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                                                     Counsel for Plaintiff




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                               CERTIFICATE OF SERVICE
       I, Larry Klayman, counsel for Plaintiffs hereby certify that on this day, April 2, 2020 a

copy of the foregoing was filed via this Court’s ECF system and served upon all parties and/or

counsel of record.


                                                           /s/ Larry Klayman
                                                           Larry Klayman




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